        Case 1:21-cv-00108-KWR-KK Document 1 Filed 02/10/21 Page 1 of 8




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW MEXICO

JOSEPH GRIMANDO,

                      Plaintiff

       vs.                                           No.

UNITED STATES OF AMERICA,
US DEPARTMENT OF HEALTH and HUMAN
SERVICES, PRESBYTERIAN MEDICAL SERVICES, d/b/a
RIO RANCHO FAMILY HEALTH CENTER, and
CLAUDIA ALFARO-ANDRICK, M.D.,


                      Defendants.


        COMPLAINT FOR DAMAGES CAUSED BY MEDICAL NEGLIGENCE

       COMES NOW the Plaintiff, Joseph Grimando, by and through his attorneys of record,

Duhigg, Cronin, Spring & Berlin, P.A. (Robert A. Berlin and David M. Berlin), and hereby

complains of the Defendants Presbyterian Medical Services, d/b/a Rio Rancho Family Health

Center and Claudia Alfaro-Andrick, M.D., Defendants as follows:

                                       INTRODUCTION

       1.      The jurisdiction of this Court in this action is pursuant to 28 U.S. Code § 2671 et

seq., in that this is a tort action against the United States of America. This Court also has

jurisdiction over the other named Defendants pursuant to 28 U.S.C. § 1367 in that the claims

against them arise out of a common nucleus of operative fact that has given rise to the causes of

action against the United States of America, and, therefore, pendant party jurisdiction exists over

those claims and parties.

       2.      At all times and hereinafter, Plaintiff Joseph Grimando is a resident of the City of

Rio Rancho, Sandoval County, State of New Mexico.
        Case 1:21-cv-00108-KWR-KK Document 1 Filed 02/10/21 Page 2 of 8




       3.      Upon information and belief, and at all times hereinafter mentioned, Defendant

Presbyterian Medical Services (PMS) is a New Mexico corporation with several facilities in New

Mexico, including Rio Rancho Family Health Center where Defendant failed to provide

necessary medical services.

       4.      Upon information and belief, and at all times and hereinafter mentioned,

Defendant PMS owned and operated Rio Rancho Family Health Center, located at 184 Unser

Blvd. NE in the City of Rio Rancho, Sandoval County. Defendant PMS held itself out as a full-

service medical facility at which patients could undergo medical procedures.

       5.      Upon information and belief, and all times hereinafter relevant, Defendant PMS

employed physician Defendant, Dr. Claudia Alfaro-Andrick, M.D., and other healthcare

members to provide medical care to the public.

       6.      Upon information and belief, and at all times hereinafter mentioned, Defendant

Alfaro-Andrick, M.D., is a medical doctor licensed to practice medicine in the State of New

Mexico.

       7.      Upon information and belief, and at all times hereinafter mentioned, Defendant

Alfaro-Andrick, M.D., was an employee of PMS d/b/a Rio Rancho Family Health Center and

was granted privileges by Defendant PMS.

       8.      On or about March 5, 2019, Plaintiff, Joseph Grimando went in for a routine

physical at Rio Rancho Family Health Center, located at 184 Unser Blvd. NE. Mr. Grimando

was treated by Defendant Alfaro-Andrick.

       9.      During the physical, Mr. Grimando asked Defendant Alfaro-Andrick if she would

remove the skin tags located in the corner of his left and right eye.

       10.      Defendant Alfaro-Andrick agreed and stated that she would do so at the end of



                                                  2
        Case 1:21-cv-00108-KWR-KK Document 1 Filed 02/10/21 Page 3 of 8




the physical. Dr. Alfaro-Andrick continued with Mr. Grimando’s check-up.

        11.    Dr. Alfaro-Andrick completed the physical without removing the skin tags. As

Mr. Grimando and Defendant Alfaro-Andrick were walking down the hall, back toward the

lobby, Mr. Grimando reminded Dr. Alfaro-Andrick about the skin tags near his left and right

eye.

        12.    Dr. Alfaro-Andrick said she would take care of it then. She sat Mr. Grimando in a

chair in the hall and told him that she had to get something to complete the procedure. She then

left.

        13.    Dr. Alfaro-Andrick returned with a liquid nitrogen spray device.

        14.    Defendant Alfaro-Andrick sprayed Mr. Grimando’s left skin tag first.

Unfortunately, the device was defective and Defendant Alfaro-Andrick sprayed Mr. Grimando in

the face.

        15.    Upon information and belief Dr. Alfaro-Andrick said, “that is going to hurt,

oops.” Then, Dr. Alfaro-Andrick proceeded to use the same device to spray Mr. Grimando’s

right skin tag. Predictably, it ended with the same result.

        16.    Dr. Alfaro-Andrick never bothered to replace the device after it was discovered

that it was not functioning correctly. Instead, she used the same one to spray Mr. Grimando’s left

skin tag.

        17.    Mr. Grimando was sent home with no further treatment.

        18.    As a result of this procedure, Plaintiff suffered injuries to his left and right eye.

Plaintiff has also incurred medical bills, pain, suffering, disability, loss of enjoyment of life and

other injuries and harm.

        19.    This Court has jurisdiction under the subject matter and the parties in this action.



                                                  3
        Case 1:21-cv-00108-KWR-KK Document 1 Filed 02/10/21 Page 4 of 8




                        FIRST CAUSE OF ACTION PRESBYTERIAN
                           MEDICAL SERVICES NEGLIGENCE

        20.     Plaintiff hereby repeats and alleges each and every allegation set forth above as if

provided, herein, in full.

        21.     Defendant PMS d/b/a Rio Rancho Family Health Center owed a duty to Plaintiff

Joseph Grimando, to use ordinary care to avoid or prevent what a reasonably prudent person

would foresee as an unreasonable risk of injury to another.

        22.     On or about March 5, 2019, Defendant PMS provided a defective device.

        23.     On or about March 5, 2019, Defendant PMS failed to use ordinary care required

to avoid and prevent what a reasonable prudent person would foresee as an unreasonable risk of

injury when staff sprayed Plaintiff, Grimando in the face with a defective device in an attempt to

remove skin tags in the corner of his left and right eye.

        24.     Mr. Grimando was not in a sterile room, rather he was in the hallway during the

procedure because the doctor treating him had forgotten his earlier request during Mr.

Grimando’s physical.

        25.     Before spraying him, no one from Defendant PMS attempted to determine

whether the device was defective. After the incident to the left eye, no one from Defendant PMS

attempted to replace the device or end the procedure entirely.

        26.     After Mr. Grimando was injured, he was sent home with no additional treatment.

        27.     On or about March 5, 2019, no one from Defendant PMS attempted to put band-

aids on Mr. Grimando’s injuries after the procedure had taken place.

        28.     By failing to properly treat Plaintiff Grimando’s skin tags, Defendant PMS

committed a breach of duty owed to him and was, therefore, medically negligent.

        29.     As a result of the aforementioned medical negligence, Plaintiff suffered burning

                                                  4
        Case 1:21-cv-00108-KWR-KK Document 1 Filed 02/10/21 Page 5 of 8




around his left and right eye and blurry vision. The blurry vision was worse in his right eye.

        30.     Plaintiff, Grimando has also suffered pain, suffering, disability, emotional harm

loss of enjoyment of life and was forced to incur medical expenses. Defendant PMS is liable to

Plaintiff for all such damages.

        WHEREFORE, Plaintiff demands judgment against Defendant PMS for damages,

including compensatory damages, costs of lawsuit, interest allowable by law and such other

relief as the Court deems appropriate.

                   SECOND CAUSE OF ACTION
     MEDICAL NEGLIGENCE OF DEFENDANT CLAUDIA ALFARO-
  ANDRICK, M.D., AND VICARIOUS LIABILITYOF DEFENDANT PMS
        31.     Plaintiff hereby repeats and realleges each and every allegation set forth above, as

if provided, herein, in full.

        32.     At all times hereinafter mentioned, Defendant Claudia Alfaro-Andrick, M.D.,

held herself out as a reasonably competent medical provider.

        33.     Defendant Claudia Alfaro-Andrick, M.D., who, having held herself out as

someone who could treat and care for Plaintiff Joseph Grimando, was under a duty to possess

and apply the knowledge and use the skill and care that is ordinarily used by a reasonably well

qualified physician practicing under similar circumstances, giving due consideration to the

locality involved.

        34.     On or about March 5, 2019, Plaintiff requested that Defendant Claudia Alfaro-

Andrick remove Plaintiff’s skin tags in the corner of both his left and right eye during a routine

physical. Defendant Alfaro-Andrick agreed to do so after the physical had been completed.

However, upon information and belief, Defendant Alfaro-Andrick forgot until she was reminded

by Plaintiff as the two were walking back to the lobby. Defendant Alfaro-Andrick failed to


                                                 5
        Case 1:21-cv-00108-KWR-KK Document 1 Filed 02/10/21 Page 6 of 8




properly treat Plaintiff during his physical exam.

        35.     Then, Defendant Alfaro-Andrick failed to use proper procedure when attempting

to remove Plaintiff’s left and right skin tags in the corner of both eyes.

        36.     First, Dr. Alfaro-Andrick performed the procedure in a hallway rather than in a

doctor’s office. Thus, this was not done in a sterile location.

        37.     Second, Defendant Alfaro-Andrick never checked to see whether the device

worked properly before spraying it in Mr.Grimando’s left eye.

        38.     Third, Dr. Alfaro-Andrick discovered that the device with liquid nitrogen was

defective when she sprayed Plaintiff on the left side. Rather than ending the procedure or

attempting to get a new device, Dr. Alfaro-Andrick said, “that’s going to hurt. Oops.” Then she

proceeded to spray the right eye with the same defective device causing a similar result on the

right side of Plaintiff’s face. This was below the applicable standard of care.

        39.     Fourth, Dr. Alfaro-Andrick never bandaged Plaintiff’s injuries, such a failure

constituting a breach of the applicable standard of care.

        40.     Fifth, after injuring Mr. Grimando, Defendant Alfaro-Andrick sent Plaintiff home

with no additional treatment.

        41.     A reasonably well qualified physician would have performed the procedure in a

doctor’s office rather than a hallway on March 5, 2019, and would have tested the device to

ensure that it was working appropriately before spraying it in Plaintiff’s face.

        42.     Upon learning that the device was defective, a reasonably well qualified physician

would have ended the procedure or replaced the device before trying to remove the skin tag on

the other side of Plaintiff’s face.

        43.     The failure to do so by Defendant Alfaro-Andrick constituted a breach of duty to



                                                  6
        Case 1:21-cv-00108-KWR-KK Document 1 Filed 02/10/21 Page 7 of 8




possess and apply the knowledge, skill and care ordinarily used by qualified physicians under

similar circumstances and in the locality involved. Each of Defendant Alfaro-Andrick, M.D.’s

aforementioned breaches constituted medical negligence on the part of Defendant Alfaro-

Andrick, M.D.

        44.     The failure to provide additional treatment after Mr. Grimando suffered injuries

and instead send him home constituted a breach of duty on the part of Defendant Alfaro-Andrick

used by qualified physicians under similar circumstances.

        45.     As a result of the aforementioned medical negligence, Plaintiff, Grimando

suffered pain, suffering, disability, emotional harm and further was forced to undergo and

incurred medical expenses.

        46.     Defendant Alfaro-Andrick, M.D., is liable to the Plaintiff for the aforementioned

damages set forth above as a result of the negligence. Such negligence included:

                a)      the failure to remove Plaintiff’s skin tags during his scheduled physical;

                b)      the failure to then perform the procedure once reminded in a sterile

location such as a doctor’s office rather than a hallway;

                c)      the failure to test the device with the liquid nitrogen prior to attempting to

remove Mr. Grimando’s skin tag on the left side of his face;

                d)      upon learning that the device was defective, the failure to end the

procedure or replace it with a new device before attempting to remove the skin tag on the right

side of Plaintiff’s face; and,

                e)      the failure to bandage Plaintiff’s wounds after spraying him with a

        defective device.

        47.     Defendant PMS d/b/a Rio Rancho Family Health Center is vicariously liable for



                                                   7
        Case 1:21-cv-00108-KWR-KK Document 1 Filed 02/10/21 Page 8 of 8




the negligence of its employee Defendant, Alfaro-Andrick, M.D., and is, therefore, liable to

Plaintiff Grimando for all such damages set forth in this cause of action under the doctrine of

vicarious liability.

        WHEREFORE, Plaintiff demands judgment against Defendants Alfaro-Andrick, M.D.,

and PMS d/b/a Rio Rancho Family Health Center for damages, including compensatory

damages, cost of lawsuit, interest allowable by law and such other relief as the Court deems

appropriate.




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                                                 8
